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                                 UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA

ASHLEY PARHAM                                                   3:24-cv-07191-JCS
                                                     Case No.
                 Plaintiff(s),
                                                     CONSENT OR DECLINATION
          v.                                         TO MAGISTRATE JUDGE
                                                     JURISDICTION
SEAN COMBS

                 Defendant(s).

INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you (if you
are the party) or the party you represent (if you are an attorney in the case) choose(s) to consent
or decline to magistrate judge jurisdiction in this matter. Sign this form below your selection.

       ☐ CONSENT to Magistrate Judge Jurisdiction

        In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
United States magistrate judge conduct all further proceedings in this case, including trial and
entry of final judgment. I understand that appeal from the judgment shall be taken directly to the
United States Court of Appeals for the Ninth Circuit.

       OR

       ✔ DECLINE Magistrate Judge Jurisdiction
       ☐

       In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United States
magistrate judge conduct all further proceedings in this case and I hereby request that this case be
reassigned to a United States district judge.

 DATE: November 6
       _______________,   24
                        20____                    NAME: Shawn R. Perez, Esq

                                                           /s/ Shawn R. Perez
                                                                       Signature
                                          COUNSEL FOR
                                          (OR “PRO SE”):
                                                         Attorney for Ashley Parham
